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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

  BAD RIVER BAND OF THE LAKE
  SUPERIOR TRIBE OF CHIPPEWA INDIANS
  OF THE BAD RIVER RESERVATION

                                  Plaintiff,
            v.

  ENBRIDGE ENERGY COMPANY, INC., and
  ENBRIDGE ENERGY, LP


                                  Defendants.
                                                        Case No. 3:19-cv-00602
  ENBRIDGE ENERGY, LP
                                                        Judge William M. Conley
                                                        Magistrate Judge Stephen Crocker
                           Counter-Plaintiff,

            v.

  BAD RIVER BAND OF THE LAKE
  SUPERIOR TRIBE OF CHIPPEWA INDIANS
  OF THE BAD RIVER RESERVATION and
  NAOMI TILLISON, in her official capacity

                           Counter-Defendants.

                      CONSENT MOTION FOR EXTENSION OF TIME
                 TO SUBMIT RESCHEDULING PROPOSAL OR PROPOSALS

       Defendants/Counter-Plaintiff Enbridge Energy Company, Inc. and Enbridge Energy,

Limited Partnership (collectively, “Enbridge”) hereby submits this unopposed, consent motion for

an extension of time for the parties to submit either a jointly-proposed case schedule or their own

individual rescheduling proposals. In support of this motion, Enbridge states as follows:

       1.        Pursuant to the Court’s September 10, 2020 text order (Dkt. No. 55), on September

14, 2020, the Parties submitted a joint letter requesting a teleconference status conference to

discuss, among other things, a modified case schedule and the Plaintiff/Counter-Defendant Bad

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River Band of the Lake Superior Tribe of Chippewa Indians’ (“the Band’s”) intention to file a

motion seeking the Court’s leave to amend its Amended Complaint to include a request for

monetary damages. See Dkt. No. 56.

        2.     On September 15, 2020, the Court held a telephonic status conference on these

issues. Following the status conference, the Court set two deadlines: (1) October 16, 2020, as the

deadline for the Band to move for leave to file second amended complaint, and (2) October 30,

2020, as the deadline for the Parties to submit their rescheduling proposal(s). See Dkt. No. 57.

        3.     On October 16, 2020, Enbridge consented to the Band’s Motion for Leave to File

Second Amended Complaint, which the Band filed that same day. See Dkt. No. 70.

        4.     On October 19, 2020, the Court granted the Band’s Motion for Leave to File Second

Amended Complaint, directing the Band to file its Second Amended Complaint and directing

Enbridge to answer or otherwise respond to the Second Amended Complaint by November 9,

2020. Dkt. No. 71.

        5.     Enbridge is continuing to evaluate the Second Amended Complaint, including

evaluating the issue of whether additional parties (not affiliated with Enbridge) must be added to

the case in light of the Second Amended Complaint’s request for money damages. Enbridge has

come to no firm position on this issue yet but, if such parties are added, Enbridge believes that this

likely would have a material impact on the scheduling proposal(s).

        6.     For the foregoing reasons, Enbridge respectfully requests that the Court extend its

October 30, 2020 deadline for the Parties to submit their rescheduling proposal(s) to November 9,

2020.

        7.     The Band consents to Enbridge’s request.




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Dated: October 27, 2020              Respectfully submitted,


/s/ David L. Feinberg
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                                 CERTIFICATE OF SERVICE

       This is to certify that on this 27 day of October 2020, a copy of the foregoing was

electronically delivered to all counsel of record.

                                     /s/ David L. Feinberg
                                         David L. Feinberg




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